     Case 3:14-cr-00164-FAB   Document 354     Filed 05/13/14   Page 1 of 14



                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

         Plaintiff,

                  v.                         Criminal No. 14-164 (FAB)

IVAN CIDRAZ-SANTIAGO [5],

         Defendant.


                           MEMORANDUM AND ORDER

BESOSA, District Judge.

     Before the Court are the United States’ motion requesting

detention1 of defendant Ivan Cidraz Santiago, (Docket No. 103), and

the defendant’s opposition (Docket No. 170).            For the reasons that

follow, the Court GRANTS the United States’ motion for detention,

and REVOKES defendant Cidraz’s release order (Docket No. 148).

I.   Background

     Defendant Ivan Cidraz Santiago is charged with participating

in a drug trafficking conspiracy between 2003 and 2014.                        The

charges against him in the indictment include conspiracy to possess

firearms in furtherance of a drug trafficking crime, in violation

of 18 U.S.C. § 924(o), and conspiracy to possess with intent to

distribute controlled substances (including crack, heroin, cocaine,

marijuana,     Oxycodone      (Percocet),      and    Alprazolam       (Xanax))

     1
      Because the magistrate judge ordered the defendant’s release
(Docket Nos. 148 & 252), the Court views the government’s motion as
one requesting revocation of the magistrate judge’s release order
pursuant to 18 U.S.C. § 3145(a)(1).
    Case 3:14-cr-00164-FAB    Document 354    Filed 05/13/14   Page 2 of 14



Criminal No. 14-164 (FAB)                                                     2

within 1,000 feet of the La Ceiba Public Housing Project in Ponce,

Puerto Rico, all in violation of 21 U.S.C. §§ 841(a)(1), 846,

and 860.   (Docket No. 3.)     At a detention hearing held pursuant to

18 U.S.C. § 3142(f) on March 21, 2014, the government moved for

pretrial detention, contending that no condition or combination of

conditions would reasonably assure defendant Cidraz’s appearance at

trial or the safety of the community.           (Docket Nos. 148 & 252.)

Defendant voiced numerous objections to the pretrial services

report regarding missing or inaccurate information about Cidraz’s

employment, military service, and personal assets. (Docket No. 252

at pp. 5–8.)    He also presented letters written by residents and

administrators at La Ceiba as well as by a local baseball program

to attest to Cidraz’s good character and to dispute any danger

posed to the community.      Id. at pp. 8–10. Cidraz’s mother, Lillian

Santiago Martinez-Ramirez, attended the hearing as a proffered

third-party custodian, and offered both that her son live with her

in Coamo and that her house be used as security for Cidraz’s bail.

Id. at pp. 10–11.    Without explaining the basis for his decision,

Magistrate Judge Bruce McGiverin granted defendant Cidraz bail and

set the conditions for his release:          bail was set at $120,000.00,

with $80,000.00 secured by Cidraz’s mother’s home; home detention

was imposed with electronic monitoring; and Cidraz was prohibited

from residing or visiting the La Ceiba Public Housing Project for

any reason.    Docket No. 148.
      Case 3:14-cr-00164-FAB   Document 354    Filed 05/13/14    Page 3 of 14



Criminal No. 14-164 (FAB)                                                         3

      On the same day as the bail hearing, the government moved the

Court to revoke the magistrate judge’s order granting Cidraz bail,

or, in the alternative, to stay the order and hold a de novo

detention    hearing.      (Docket    No.   103.)      The   grounds    for     the

government’s requests are that Cidraz’s proffer of evidence at the

bail hearing did not rebut the presumptions of risk of flight or

danger to the community.           The Court granted the government’s

request to stay the release order, and ordered Cidraz to respond.

(Docket No. 104.)     On March 28, 2014, Cidraz filed an opposition to

the government’s motion.       (Docket No. 170.)

II.   Legal Standard

      A.    The Bail Reform Act

            The   Bail    Reform     Act    provides   the      procedural      and

substantive rules for determining the appropriateness of pretrial

detention for defendants.          18 U.S.C. § 3142.2           In determining

whether pretrial detention is warranted, a judicial officer must

consider the statutory factors set forth in 18 U.S.C. § 3142(g):

(1) the nature and circumstances of the offense charged; (2) the

weight of the evidence against the defendant; (3) the defendant’s




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       Pursuant to the Act, the Court may: (1) release the
defendant on personal recognizance or upon execution of an
unsecured bond; (2) release the defendant on conditions;
(3) temporarily detain the defendant to permit revocation of
conditional release, deportation, or exclusion; or (4) detain the
defendant. 18 § 3142(a).
    Case 3:14-cr-00164-FAB    Document 354       Filed 05/13/14   Page 4 of 14



Criminal No. 14-164 (FAB)                                                        4

history and characteristics;3 and (4) the danger that would be

posed to the community by the defendant’s release.                 United States

v. Tortora, 922 F.2d 880, 884 (1st Cir. 1990). To support an order

of detention, the government must establish that a defendant poses

(1) a risk of flight by a preponderance of the evidence, or (2) a

danger to the community by clear and convincing evidence.                  United

States    v.    Patriarca,   948   F.2d   789,    791-93    (1st    Cir.   1991).

“Detention determinations must be made individually and, in the

final analysis, must be based on evidence which is before the court

regarding the particular defendant.”              Tortora, 922 F.2d at 888

(internal citations omitted).

     B.        Standard of Review for a Release Order

               If a magistrate judge orders the release of a defendant,

the government may move the district court for a revocation of the

order.    18 U.S.C. § 3145(a); United States v. Godines-Lupian, 816

F. Supp. 2d 126 (D.P.R. 2011) (Gelpi, J.).                   A district court

reviews the magistrate judge’s order de novo, Tortora, 922 at 883

n.4 (1st Cir. 1990), and need not defer to the magistrate judge’s

findings or give specific reasons for rejecting them.                      United



     3
       This factor includes consideration of:    (A) the person’s
character, physical and mental condition, family ties, employment,
financial resources, length of residence in the community,
community ties, past conduct, history relating to drug or alcohol
abuse, criminal history, and record concerning appearance at court
proceedings; and (B) whether, at the time of the current offense,
the person was on probation, parole, or other pre-trial release.
18 U.S.C. § 3142(g).
    Case 3:14-cr-00164-FAB      Document 354    Filed 05/13/14     Page 5 of 14



Criminal No. 14-164 (FAB)                                                          5

States v. Koenig, 912 F.2d 1190, 1191-92 (9th Cir. 1990); United

States v. Leon, 766 F.2d 77, 80 (2d Cir. 1985); United States v.

Delker, 757 F.2d 1390, 1394-95 (3d Cir. 1985); United States v.

Medina, 775 F.2d 1398, 1402 (11th Cir. 1985).             A district court may

take additional evidence or conduct a new evidentiary hearing when

appropriate.    Koenig, 912 F.2d at 1193; Delker, 757 F.2d at 1393-

94; United States v. Fortna, 769 F.2d 243, 250 (5th Cir. 1985).

The need for a hearing depends on whether the defendant has placed

relevant   facts        at   issue,   that     is,   “whether       [defendant’s]

submissions . . . were adequate to raise a disputed factual issue

that was necessary to decide his motion. . . .”                  United States v.

Alonso, 832 F. Supp. 503, 504-505 (D.P.R. 1993) (citing United

States v. Sophie, 900 F.2d 1064, 1071 (7th Cir. 1990)).

III. Discussion

     A.    Bail Reform Act Presumptions

           The ultimate question presented to the Court is whether

any condition      or    combination of      conditions    can     be   placed    on

defendant Cidraz’s release such that he will appear in court and

not pose a threat to the community’s safety.              The Bail Reform Act

of 1984 sets forth a rebuttable presumption that no condition or

combination of conditions will reasonably assure the appearance of

the accused and the safety of the community if there is probable

cause to believe that the accused committed an offense for which he

may receive a sentence of imprisonment for ten or more years
    Case 3:14-cr-00164-FAB   Document 354   Filed 05/13/14    Page 6 of 14



Criminal No. 14-164 (FAB)                                                     6

pursuant to the Controlled Substance Act, 21 U.S.C. § 801.              United

States v. Dillon, 938 F.2d 1412, 1416 (1st Cir. 1991) (citing 18

U.S.C. § 3142(e)); United States v. O’Brien, 895 F.2d 810, 814–15

(1st Cir. 1990).      The return of an indictment is sufficient to

fulfill the probable cause prerequisite and invoke the presumption.

United States v. Vargas, 804 F.2d 157, 163 (1st Cir. 1986).                  In

this case, the presumption is triggered by the indictment’s drug-

related counts 1-5, which mandate a minimum sentence of ten years.

18 U.S.C. § 3142(f)(1)(C).     It is presumed, therefore, that no set

of conditions will reasonably assure Cidraz’s appearance or the

safety of the community.      United States v. Jessup, 757 F.2d 378,

380 (1st Cir. 1985).

           Although    the   government     maintains        the    burden   of

persuasion when the presumption applies, the burden of production

shifts to the defendant.     Jessup, 757 F.2d at 380–84.           To rebut the

presumption, therefore, defendant Cidraz is required to produce

some “conflicting evidence” in order to show that “what is true in

general is not true in the particular case before [the Court].”

United States v. Perez-Franco, 839 F.2d 867, 870 (1st Cir. 1988)

(internal citation omitted).      In “determin[ing] on which side the

evidence   preponderates,”     Jessup,    757   F.2d    at    383    (citation

omitted), the Court must keep in mind Congress’ finding that

“flight to avoid prosecution is particularly high among persons

charged with major drug offenses . . . [and that] drug traffickers
     Case 3:14-cr-00164-FAB    Document 354   Filed 05/13/14   Page 7 of 14



Criminal No. 14-164 (FAB)                                                      7

often have established ties outside the United States . . . [and]

have both the resources and foreign contacts to escape to other

countries.”       Id. at 384 (citing S. Rep. No. 225, 98th Cong., 1st

Sess. 19, 20 (1983)).         To make its bail decision, therefore, the

Court must incorporate Congress’ finding that “as a general rule,

[drug offenders] pose special risks of flight,” among the other

special factors of 18 U.S.C. § 3142(g).          Jessup, 757 F.2d at 384.

      B.     Section 3142(g) Factors

             1.    The Nature and Circumstances of the Offense Charged

                   Defendant Cidraz is charged in a conspiracy together

with sixty-two others (1) to possess with intent to distribute, and

(2) to aid and abet each other, in the possession/distribution of

280 grams or more of a mixture or substance containing cocaine base

(“crack”), 1 kilo or more of heroin, 5 kilos or more of cocaine,

and 100 kilos or more of marijuana.           (Docket No. 3 at pp. 6–26.)

He   is    also   charged   with   conspiracy   to   possess     firearms     in

furtherance of the drug trafficking crimes.             Id. at p. 27.         The

indictment claims that Cidraz was a drug point owner who directly

controlled and supervised the drug trafficking activities at the

drug distribution points located within the La Ceiba Public Housing

Project and other areas near Ponce, Puerto Rico.               Throughout the

conspiracy, drug point owners would purchase wholesale amounts of

narcotics, which were then prepared within the La Ceiba Public

Housing Project and Ponce for street distribution.
       Case 3:14-cr-00164-FAB     Document 354     Filed 05/13/14    Page 8 of 14



Criminal No. 14-164 (FAB)                                                             8

                       The scope and seriousness of the alleged offenses

weigh heavily in favor of finding that defendant Cidraz poses a

risk of flight.         Cidraz faces at least ten years in prison, because

each count related to drug crimes carries a statutory minimum of

ten years to life.4           See 21 U.S.C §§ 841(a)(1) & 860.          Moreover, a

conspiracy        to    distribute   280   grams   or   more    of    cocaine       base

(“crack”), 1 kilo or more of heroin, 5 kilos or more of cocaine,

and 100 kilos or more of marijuana, qualifies as a major drug

crime. See United States v. Valdivia, 104 F.App’x. 753, 754 (1st

Cir. 2004) (per curiam) (finding that evidence of the defendant’s

participation in an organization that imported 60 to 80 kilograms

of heroin was sufficient to characterize the offense as the kind of

“major drug offense” the presumption was designed to address).

Although Cidraz put forth evidence at the initial bail hearing,

none       of   the    evidence   addresses,     much   less    neutralizes,        the

significant weight of the first factor.

                2.     The Weight of the Evidence Against the Defendant

                       Also   of significant     weight    is   the    government’s

evidence against Cidraz, which includes at least six witnesses who

are expected to testify that Cidraz has been a drug point owner at

the La Ceiba Public Housing Project since approximately 1999 until



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       For a conviction on the weapons charge, defendant Cidraz
could serve up to 20 years, but the Court would have discretion as
to whether that term of imprisonment would be served concurrently
or consecutively with the drug charges. See 18 U.S.C. § 924(o).
    Case 3:14-cr-00164-FAB   Document 354   Filed 05/13/14   Page 9 of 14



Criminal No. 14-164 (FAB)                                                     9

the day of the indictment.      (Docket No. 252 at p. 4.)           Three of

those witnesses are expected to testify that they have seen Cidraz

possess firearms at the drug point.         Id. at pp. 4–5.         At least

three witnesses are expected to testify that Cidraz was one of the

individuals with supervisory authority over the drug points at La

Ceiba, that he was “in charge,” and that he gave instructions and

orders to both members of the organization and residents of the

housing project.    Id. at p. 5.    The government also possesses one

audio recording of a phone call in which Cidraz allegedly quotes a

price for pounds of marijuana.     Id.   Given that Cidraz’s proffer of

evidence does not address the weight of the evidence against him,

the Court finds the second factor to also weigh heavily in favor of

a finding that his release would present a risk of flight and

danger to the community.

          3.    The History and Characteristics of the Defendant

                Cidraz argues that the pretrial services report is

“totally unreliable” because it fails to mention that Cidraz served

in the military from 2003 to 2006 in Kuwait and Iraq;5 that it did

not take into account Cidraz’s part-time work washing cars; and

that he is no longer in possession of the 1999 Camry and 2004/2005

motorcycle listed in the report.     (Docket No. 170 at pp. 2–3.)           The

Court does not find that these facts, even if true, impact in any


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       Cidraz did not serve in Iraq; he served in Kuwait in support
of Operation Iraqi Freedom, as indicated in one of his DD Forms 214
(Docket No. 331-1).
      Case 3:14-cr-00164-FAB        Document 354    Filed 05/13/14   Page 10 of 14



Criminal No. 14-164 (FAB)                                                            10

way Cidraz’s flight risk or danger to the community.                     Cidraz’s DD

Forms 214, Reports of Separation from Active Duty, demonstrate that

he actively served in the military from February 5, 2003 to June 6,

2003, apparently a 6-week course at Fort Leonard Wood, MO, to

obtain his Military Occupational Specialty as a crane operator, as

well as from December 7, 2003 to February 18, 2005, when he was

activated to participate in Operation Iraqi Freedom.                          (Docket

No. 331-1.)       Cidraz’s active military service for a total of one

year and six months does not preclude the conclusion that he indeed

engaged in the drug trafficking conspiracy, as the indictment

charges, within the eleven-year period between 2003 and 2014.

Neither does defense counsel’s allegation that Cidraz obtained

part-time employment lead the Court to conclude that the pretrial

service report is entirely unreliable.                   The report indicates that

Cidraz himself was interviewed, and that his consensual partner,

Luz Velazquez, verified the background information.                    Furthermore,

simply because Cidraz allegedly worked part-time as a car washer

does not necessarily negate the charges in the indictment that he

worked as a drug-point owner.               The argument that he no longer owns

the    vehicles    listed      in     the   pretrial      services   report    is    so

inconsequential that it is hardly worth mentioning.                    Accordingly,

the    Court   gives   no      credence      to    the    argument   that   possible

inaccuracies or omissions in the pretrial services report weigh in

Cidraz’s favor on the third prong.
    Case 3:14-cr-00164-FAB    Document 354      Filed 05/13/14   Page 11 of 14



Criminal No. 14-164 (FAB)                                                        11

                  The following considerations, on the other hand, do

pertain to the analysis:       Cidraz has no prior history of arrests,

convictions, mental illness, or substance abuse; he has two years

of college education and has resided in Puerto Rico since he was

10 years old; his mother is willing both to post her home as surety

for his bail and to act as his third party custodian at her house,

which is in Coamo, “far away” from La Ceiba; Cidraz has a stable

three-year relationship with a girlfriend and fathered a three-

year-old son with her; his girlfriend and son have offered to live

at Cidraz’s mother’s home with him if he is released; he is willing

to wear an electronic device and agrees to home detention; and he

is highly regarded at La Ceiba, due to his involvement in sports

and activities (baseball, basketball, softball, and dominos) with

children and adults.     (Docket No. 170 at pp. 3–4.)             Additionally,

defense counsel presented letters of support from the Council

leaders of La Ceiba, six residents of the housing project, and the

Las Bayas Baseball Club, all of which he claims “portray a totally

different picture of [the] defendant . . . and establish that

defendant is not a danger to the community.”              Id. at p. 4.

                  Defendant    Cidraz’s    proffer      of   evidence    on   this

factor   weighs   neither     in   favor   of   nor   against     a   finding    of

dangerousness or flight risk.         The evidence indicates that Cidraz

has strong ties to his community.            As the government points out,

however, authoritative members in drug trafficking organizations
    Case 3:14-cr-00164-FAB     Document 354    Filed 05/13/14      Page 12 of 14



Criminal No. 14-164 (FAB)                                                           12

often exercise great power in and control over the communities in

which the organization’s drug points are located.                       It is not

uncommon for those leaders to demand allegiance of the community as

well as compliance with the organization’s rules.                       This case

appears to exemplify such an arrangement.             The government informs

that “[w]itnesses in this case have testified that the organization

had established a ‘code of silence’ among the members of the

community   in   which   the    organization       solved    all    disputes       and

residents were not allowed to seek the assistance of the police

when they were victims of crime at the housing project.”                    (Docket

No. 103 at p. 3.)        The Court, therefore, does not place great

weight on the evidence attesting to Cidraz’s “high regard” and

“positive influence” in the community.

            4.   The Danger Posed             to   the      Community      by      the
                 Defendant’s Release

                 As discussed above, the Court is unpersuaded by

Cidraz’s proffer of letters explaining that he does not pose a

danger to the community.           Even considering Cidraz’s evidence

emphasizing his strong family ties; his family’s willingness to

take custody of him and finance his bail; his part-time employment;

and his lack of criminal history, drug or alcohol abuse, violence,

or mental illness, the government has established by clear and

convincing evidence that Cidraz’s release would pose a danger to

the community.     “Congress has made it clear that an ‘especially

significant’ danger to the community is the risk that the drug
      Case 3:14-cr-00164-FAB   Document 354   Filed 05/13/14   Page 13 of 14



Criminal No. 14-164 (FAB)                                                      13

network will continue to function while defendant awaits trial.”

United States       v.   Arroyo-Reyes, 32     F.3d    561, (1st    Cir.   1994)

(citation omitted).       The government claims to have one witness who

would testify that Cidraz has an additional drug point in the area

of Coamo, which is precisely where he would be released under the

magistrate judge’s conditions.         In addition to the evidence upon

which the Court bases its finding of risk of flight, the government

has proffered sufficient evidence that Cidraz deals and has dealt

in trafficking large amounts of drugs.               His release, therefore,

would pose a danger of continued drug trafficking to the community.

IV.    Conclusion

       The Court finds that the facts giving rise to the presumption

against defendant Cidraz’s release weigh heavily in favor of

detention.     See Palmer-Contreras, 835 F.2d 15, 18 (1st Cir. 1987)

(“[E]ven after a defendant has introduced some evidence to rebut

the flight presumption, the presumption does not disappear, but

rather retains evidentiary weight . . . .”).             The drug conspiracy

alleged in this case closely resembles “the highly lucrative drug

operations at the center of congressional concern.”               Jessup, 757

F.2d at 386.      The Court does not find Cidraz’s proffer sufficient

to distinguish his case from the general “fact found by Congress —

that drug traffickers pose special risks of flight.” United States

v. Perez-Franco, 839 F.2d 867, 870 (1st Cir. 1988).               Nor does the

evidence outweigh the government’s clear and convincing evidence
     Case 3:14-cr-00164-FAB    Document 354   Filed 05/13/14   Page 14 of 14



Criminal No. 14-164 (FAB)                                                       14

that “harm to society caused by narcotics trafficking[,] [which] is

encompassed within Congress’s definition of ‘danger,’” will occur

with Cidraz’s release.        See United States v. Leon, 766 F.2d 77, 81

(2d Cir. 1985) (citing S. Rep. No. 98-225, at 15 (1983)).6               Having

reviewed the indictment, the parties’ submissions, the record of

the proceedings before the magistrate judge, and the pretrial

services report, the Court is concerned that defendant Cidraz is a

flight risk and that his pretrial release would pose a danger to

the community.     There are no conditions of release or combination

of them that would reasonably assure defendant Cidraz’s appearance

in   court   or   the   safety   of   the   community.     Accordingly,        the

magistrate judge’s order granting bail to defendant Cidraz (Docket

No. 148) is REVOKED, and defendant Ivan Cidraz-Santiago is ORDERED

DETAINED WITHOUT BAIL PENDING TRIAL.

      IT IS SO ORDERED.

      San Juan, Puerto Rico, May 13, 2014.


                                            s/ Francisco A. Besosa
                                            FRANCISCO A. BESOSA
                                            United States District Judge




      6
       Because defendant Cidraz’s submissions were not adequate to
raise a disputed factual issue necessary to decide his motion, the
Court finds no need for a de novo hearing.
